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KILPATRICK TOWNSEND &
STOCKTON LLP
Joseph Petersen (JP 9071)
Olivia Harris (OH 1983)                                  USDC SDNY
1114 Avenue of the Americas                              DOCUMENT
New York, New York 10036                                 ELECTRONICALLY FILED
Telephone: (212) 775-8700                                DOC #:
Facsimile: (212) 775-8800                                DATE FILED: 7/21/2015
jpetersen@kilpatricktownsend.com
oharris@kilpatricktownsend.com

Dennis L. Wilson (admitted pro hac vice)
David K. Caplan (admitted pro hac vice)
9720 Wilshire Blvd PH
Beverly Hills, California 90212-2018
Telephone: (310) 248-3830
Facsimile: (310) 860-0363
dwilson@kilpatricktownsend.com
dcaplan@kilpatricktownsend.com

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TUMBLR, INC.,

                                  Plaintiff,               15-CV-3734 (VEC)

               v.                                          SETTLEMENT AGREEMENT
                                                           AND CONSENT JUDGMENT
ARMAND VEGA,

                                 Defendant.


       Plaintiff Tumblr, Inc. and Defendant Armand Vega hereby enter the following Settlement

Agreement and Consent Judgment:

       Plaintiff commenced this Action by filing a Complaint against Defendant on May 14,

2015, charging Defendant with violation of the federal Controlling the Assault of Non-Solicited

Pornography and Marketing (“CAN-SPAM”) Act of 2003, 15 U.S.C. § 7701; federal unfair

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competition, false description and false designation of origin, and cybersquatting under Section

43(a) of the Trademark Act of 1946 (the “Lanham Act”), 15 U.S.C. §§ 1125(a), 1125(d); breach

of contract under the common law of the State of New York; tortious interference with

contractual relations under the common law of the State of New York; and unfair and deceptive

trade practices under New York Law, N.Y. Gen. Bus. L. § 349;

        Defendant admits as true all factual and legal allegations asserted by Plaintiff in the

Complaint, and admits and concedes liability on all claims alleged therein;

        The parties agree that the United States District Court for the Southern District of New

York has subject matter jurisdiction over this Action and personal jurisdiction over Defendant

for the purposes of this Action; and

        To avoid the inconvenience and expense of further litigation, Plaintiff and Defendant

wish to resolve this matter, and to that end, have agreed to enter this Settlement Agreement and

Consent Judgment to dispose of all the claims set forth in the above-captioned Action on terms

set forth below:

        1.    DEFINITIONS. The following terms shall be defined:

        1.1. The “Action” shall mean the above-captioned action.

        1.2. The “Complaint” shall mean the Complaint filed on May 14, 2015, by Plaintiff in

the Action.

        1.3. The “Settlement Agreement and Consent Judgment” shall mean this Settlement

Agreement and Consent Judgment.

        1.4. “Plaintiff” or “Tumblr” shall mean Plaintiff Tumblr, Inc., its predecessors,

successors, parent companies, affiliates, future affiliates, subsidiaries, assigns, and all entities

owned or controlled by it.

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       1.5. “Defendant” shall mean Defendant Armand Vega and his successors and assigns.

       1.6. “Parties” shall mean Plaintiff and Defendant.

       1.7. The “Tumblr API Agreement” shall mean Tumblr’s Application Developer and API

License Agreement, a true and correct copy of which is attached to the Complaint as Exhibit B,

and is attached hereto as Exhibit 1.

       1.8. The “Tumblr Website” shall mean Plaintiff’s global microblogging and social

sharing website <tumblr.com>.

       1.9. The “Tumblr Platform” shall mean the Tumblr Website and Tumblr application

programming interface, its accompanying or related documents, source code, executable

applications and other materials.

       1.10. The “Tumblr Policies” shall mean Tumblr’s Terms of Service, Community

Guidelines, Privacy Policy and Trademark Guidelines, true and correct copies of which are

attached to the Complaint as Exhibit A, and are attached hereto as Exhibit 2.

       1.11. The “TUMBLR Marks” shall mean all U.S. trademark rights, including Plaintiff’s

well-established common law rights, in Plaintiff’s federally registered TUMBLR and “t” logo

trademarks in connection with computer and internet-based social networking and electronic

publishing services; computer software, advertising and marketing services; computer services

and on-line non-downloadable software. The TUMBLR Marks shall include without limitation

the trademarks reflected in the registration certificates attached hereto as Exhibit 3 for U.S.

Trademark Registration Numbers 4,498,200; 4,397,501; 4,468,576; 4,341,004; 4,341,003;

4,341,002; 4,345,260; 4,319,728; 4,459,619; 3,714,214; and 4,345,260, as well as all variants

thereof, whether used now or adopted in the future by Plaintiff.




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         1.12. The “Infringing Website” shall mean Defendant’s <infinitefollowers.com>

website, referenced in Paragraph 16 of the Complaint.

         1.13. The “Infringing Application” shall mean Defendant’s downloadable application,

available at the Infringing Website as of the date of filing of the Complaint, referenced in

Paragraph 19 of the Complaint.

         1.14. The “Infringing Domain Names” shall mean all domain names owned by

Defendant used in connection with the Infringing Website and/or Infringing Application,

including without limitation <tumblrpromos.com>, <getmoretumblrfollowers.com>,

<tumblrfollowers.com>, <infinitefollowers.com>, <infinitefollowers.net>,

<infinitefollowers.org>, <getmoretumblrfollowers.info>, and <followerblasting.info>,

referenced in Paragraph 16 of the Complaint.

         2.   STIPULATED FACTS. The Parties agree and stipulate as to the facts set forth in

the preceding clauses of this Settlement Agreement and Consent Judgment and to the following

facts:

         2.1. Plaintiff is a corporation organized and existing under the laws of Delaware, with a

principal place of business at 35 E. 21st Street, Ground Floor, New York, New York 10010.

         2.2. Defendant is an individual, also known as Armand Escobar, currently residing at

840 Beacon Street NW, Palm Bay, Florida 32907.

         2.3. Plaintiff owns common law trademark rights and multiple United States

registrations for the TUMBLR Marks in connection with computer and internet-based social

networking and electronic publishing services; computer software, advertising and marketing

services; computer services and on-line non-downloadable software.




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       2.4. The Tumblr API Agreement and the Tumblr Policies create enforceable contracts

between Plaintiff and its users, including Defendant.

       2.5. Defendant owns, operates, and controls, or has in the past owned, operated, or

controlled, the Infringing Website, Infringing Application, and Infringing Domain Names.

       2.6. Plaintiff has not authorized Defendant to conduct any commercial activity on the

Tumblr Website that exceeds the authorized commercial activity provided in the Tumblr

Policies.

       2.7. Plaintiff has not authorized Defendant to use other Tumblr users’ accounts to access

Plaintiff’s computers and services.

       2.8. Defendant admits as true all factual allegations asserted by Plaintiff in the

Complaint, including without limitation the following:

             a)   Defendant intentionally, maliciously and fraudulently used and registered the

Infringing Domain Names, including domain names incorporating the TUMBLR Marks, to

advertise and offer “follow train” services which encouraged Tumblr users to follow lists of

other users to gain more followers for themselves in violation of the Tumblr API Agreement and

Tumblr Policies.

             b)   Defendant engaged in the unauthorized access of Plaintiff’s computers and

servers to cause Tumblr users to artificially and instantly follow other Tumblr users’ blogs

without the users’ consent, direction or knowledge and cause the automatic upload of

commercial advertisements containing misleading and false content promoting Defendant’s

commercial business to Tumblr users’ blogs without the users’ consent, direction or knowledge.




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             c)   On Defendant’s Infringing Website, Defendant directly encouraged Tumblr users

to generate non-genuine traffic through fraudulent and deceptive means, including awarding

points to Tumblr users.

             d)   Defendant used the TUMBLR Marks in the source code of his

<infinitefollowers.com> website and in the content of the website.

             e)   Defendant offered to feature a Tumblr user’s blog “at the top of the user list” for

additional fees, the payment of which could be made through Defendant’s Infringing Website,

and Defendant advertised its “Become Featured” services on the Infringing Website.

             f)   Defendant’s Infringing Website induced Tumblr users to download the

Infringing Application in order to artificially and instantaneously increase a Tumblr user’s

followers.

             g)   Defendant agreed to the Tumblr API Agreement in order to access proprietary

information on the Tumblr Website for the purpose of developing the Infringing Application.

             h)   Defendant’s unsolicited commercial electronic mail messages to Tumblr users

did not properly identify Defendant as the initiator of the messages, nor did they provide clear or

conspicuous notice that the messages were advertisements generated by Defendant, information

on how recipients could opt-out of future posts, or a valid address that Tumblr users could use to

contact Defendant. Defendant’s unsolicited commercial electronic mail messages were

intentionally misleading and intended to redirect users to the Infringing Website, where

Defendant induced users to download the Infringing Application.

             i)   Defendant engaged in advertising activities on the Tumblr Website and

elsewhere.




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            j)     Defendant did not disclose to Tumblr users that his services were unlawful and

violated the Tumblr Policies. Defendant knowingly, intentionally, willfully, maliciously and

fraudulently induced, encouraged and assisted Tumblr users in abusing Plaintiff’s services and

violating the Tumblr Policies.

       3.        ADMISSION OF LIABILITY. Defendant admits liability on all legal claims

alleged by Plaintiff in the Complaint, including without limitation violation of the federal CAN-

SPAM Act of 2003, 15 U.S.C. § 7701; federal unfair competition, false description and false

designation of origin, and cybersquatting under Section 43(a) of the Lanham Act; breach of

contract under the common law of the State of New York; tortious interference with contractual

relations under the common law of the State of New York; and unfair and deceptive trade

practices under New York Law, N.Y. Gen. Bus. L. § 349.

       4.        DEFENDANT’S REPRESENTATIONS AND WARRANTIES. Defendant

represents and warrants that he has ceased operation of the Infringing Website and Infringing

Application, has removed all content from the websites at the Infringing Domain Names, and

does not own or operate any other domain names or websites that include any reference to the

TUMBLR Marks or the Infringing Application. Defendant further represents and warrants that

he will not resume operation of the Infringing Website, Infringing Application, or Infringing

Domain Names at any point in the future.

       5.        INJUNCTIVE RELIEF.

       5.1. In light of Defendant’s conduct in owning and operating the Infringing Website,

Infringing Application, and Infringing Domain Name, Defendant and his officers, agents,

servants, representatives, employees, attorneys, successors, affiliates, heirs, assigns, and entities

owned or controlled by Defendant, and all those persons in active concert or participation with

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all or any of them who receive notice of this Settlement Agreement and Consent Judgment, are

hereby permanently enjoined and restrained from:

           a)   using or registering any trademark, service mark, or trade name that incorporates

in whole or part or is otherwise confusingly similar to the TUMBLR Marks;

           b)   using, registering owning, leasing, selling or trafficking in any business name or

domain name that incorporates in whole or part or is otherwise confusingly similar to the

TUMBLR Marks;

           c)   expressly or impliedly representing himself, his businesses, or his goods or

services as affiliated, connected, or associated with, or authorized, sponsored, endorsed, or

approved by, Plaintiff;

           d)   passing off to the public that his businesses or goods or services are those of or

authorized by Plaintiff;

           e)   engaging in any other conduct that will cause, or is likely to cause, confusion,

mistake, deception or misunderstanding as to the affiliation, connection, or association or origin,

sponsorship, or approval of his businesses, goods, or services with or by Plaintiff, including but

not limited to registering and/or using social media accounts that are likely to confuse consumers

as to Plaintiff’s association with Defendant or Plaintiff’s authorization, sponsorship, or approval

of Defendant;

           f)   otherwise infringing upon the TUMBLR Marks or unfairly competing with

Plaintiff in any manner;

           g)   causing Tumblr users to artificially follow other Tumblr users’ blogs;




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           h)   causing the automatic upload of commercial advertisements containing

misleading and false content promoting Defendant’s commercial business to Tumblr users’ blogs

without the users’ consent, direction or knowledge;

           i)   encouraging Tumblr users to generate non-genuine traffic through fraudulent or

deceptive means;

           j)   inducing Tumblr users to download software applications in order to artificially

increase a Tumblr user’s followers;

           k)   sending unsolicited commercial electronic mail messages to Tumblr users;

           l)   accessing or attempting to access the Tumblr Website and computer and servers;

           m) using the Tumblr Platform;

           n)   initiating unsolicited commercial message to Tumblr users;

           o)   displaying the TUMBLR Marks anywhere on his websites, including in the

source code or content of any website;

           p)   engaging in any activity that disrupts, diminishes the quality of, interferes with

the performance of, or impairs the functionality of the Tumblr Website;

           q)   engaging in any activity that violates the API Agreement and/or the Tumblr

Policies, including any future amendments thereto; and

           r)   knowingly aiding, assisting or abetting any other party in doing any act

prohibited by sub-paragraphs (a) through (q) above.

       5.2. Within five (5) calendar days of the entry of this Settlement Agreement and

Consent Judgment by the Court, Defendant shall take all required steps to transfer the

<tumblrfollowers.com>, <tumblrpromos.com>, <getmoretumblrfollowers.com>, and

<getmoretumblrfollowers.info> domain names, as well as any other domain names that

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incorporate the TUMBLR Marks that are owned by or registered to Defendant or any and all

persons and entities acting in concert or participation with Defendant, to Plaintiff or its designee.

       5.3. Defendant shall file with the Court and serve on Plaintiff’s counsel within thirty

(30) calendar days of the entry of this Settlement Agreement and Consent Judgment by the Court

a report in writing under oath setting forth in detail the manner and form in which Defendant has

complied with the requirements of the Settlement Agreement and Consent Judgment.

       5.4. Nothing in this Settlement Agreement and Consent Judgment shall be construed as

relieving Defendant of his obligations to comply with all state and federal laws, regulations and

rules, or granting Defendant permission to engage in any other activity or practice prohibited by

such law, regulation or rule.

       6.    RELEASES.

       6.1. Conditioned upon the accuracy of Defendant’s representations and warranties in

this Settlement Agreement and Consent Judgment and upon the fulfillment by Defendant of the

obligations and undertakings set forth herein, Plaintiff shall be deemed to have released

Defendant from any and all claims asserted in the Action. Such release shall be deemed null and

void if Defendant breaches any of the obligations hereunder or if any of Defendant’s

representations and warranties hereunder should prove to be false.

       6.2. Conditioned upon the accuracy of Plaintiff’s representations and warranties in this

Settlement Agreement and Consent Judgment and upon fulfillment by Plaintiff of the obligations

and undertakings set forth herein, Defendant shall be deemed to have released Plaintiff from any

and all counterclaims that could have been asserted in the Action. Such release shall be deemed

null and void if Plaintiff breaches any of the obligations hereunder or if any of Plaintiff’s

representations and warranties hereunder should prove to be false.

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       6.3. These releases shall not apply to any future claims or claims arising from facts not

disclosed by Defendant prior to execution of this Settlement Agreement and Consent Judgment.

       7.    REMEDIES FOR BREACH.

       7.1. The jurisdiction of this Court is retained for the purpose of construing and enforcing

the terms of this Settlement Agreement and Consent Judgment and remedying violations thereof.

       7.2. For purposes of seeking judicial intervention to enforce the terms of this Settlement

Agreement and Consent Judgment and to punish violations thereof, Defendant acknowledges

that any material breach of this Settlement Agreement and Consent Judgment will result in

irreparable injury to Plaintiff entitling Plaintiff to the entry of temporary, preliminary and

permanent injunctive relief and award of treble damages.

       7.3. Plaintiff shall have the right to revive the Action or to pursue other legal action

against Defendant concerning the subject matter of the Action if Defendant breaches any of the

obligations hereunder, or if any of Defendant’s representations and warranties hereunder should

prove to be false.

       7.4. In the event that one of the Parties brings a proceeding to enforce the terms of this

Settlement Agreement and Consent Judgment and prevails, such party shall be awarded its

reasonable attorneys’ fees, costs and expert witness fees.

       7.5. If Defendant breaches its obligations under Paragraph 5.1(a)-(r) of this Settlement

Agreement and Consent Judgment, notwithstanding, and in addition to, all other remedies

available to Plaintiff, Defendant agrees to pay Plaintiff, if Plaintiff so elects, liquidated damages

in the amount of ten thousand dollars ($10,000) for each independent act in breach.




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        8.    MISCELLANEOUS.

        8.1. This Settlement Agreement and Consent Judgment, and all obligations contained

herein, is worldwide in scope and effect. The Parties waive all claims that any provision of this

Settlement Agreement and Consent Judgment or any portion thereof is unenforceable or invalid

in any jurisdiction anywhere in the world.

        8.2. Each of the Parties represents and warrants that it has the authority to execute this

Settlement Agreement and Consent Judgment. Each of the Parties represents and warrants that

to its knowledge the representations set forth in this Settlement Agreement and Consent

Judgment given by it are true and accurate.

        8.3. Neither this Settlement Agreement and Consent Judgment nor any provisions

hereof may be waived, modified or discharged except by an instrument in writing signed by the

party or a duly authorized officer of the party against which enforcement, modification or

discharge is sought.

        8.4. This Settlement Agreement and Consent Judgment shall be binding on and inure to

the benefit of the Parties hereto, their officers, representatives, members, managers, directors,

agents, heirs, executives, beneficiaries, employees, successors, assigns, subsidiaries, affiliates,

future affiliates, parents and licensees.

        8.5. This Settlement Agreement and Consent Judgment shall be construed under and

governed in all respects, including interpretation, by the substantive laws of the State of New

York without reference to New York choice of law rules.

        8.6. The headings which have been used to designate the various sections of this

Settlement Agreement and Consent Judgment are solely for convenience and ease of reference

and shall not be used to interpret this Settlement Agreement and Consent Judgment.

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       8.7. Each of the Parties has carefully reviewed this Settlement Agreement and Consent

Judgment, understands its terms, and has relied wholly on its own judgment and knowledge and

has not been influenced to any extent whatsoever in making this Settlement Agreement and

Consent Judgment by any representations or statements made by any other party or anyone

acting on behalf of any other party. Any rules of construction construing an agreement against

the drafting party shall not apply to the construction of this Settlement Agreement and Consent

Judgment.

       8.8. By signing this Settlement Agreement and Consent Judgment, each Party represents

and warrants that it understands the Settlement Agreement and Consent Judgment’s terms, the

obligations hereunder, and the consequences of any breach thereof.

       8.9. Except as otherwise provided herein, the Parties shall execute, acknowledge and

deliver or cause to be executed, acknowledged or delivered, in a timely manner, all such further

instruments or documents as may be reasonably necessary or reasonably desirable to effectuate

the terms and provisions of this Settlement Agreement and Consent Judgment.

       8.10. This Settlement Agreement and Consent Judgment may be signed in separate

counterparts, all of which taken together shall constitute the agreement of the Parties hereto.

       8.11. The use of the singular shall include the plural, and the use of the plural shall

include the singular, for purposes of this Settlement Agreement and Consent Judgment.

       8.12. All rights not expressly granted are reserved.

       9.    ENTRY OF JUDGMENT.

       9.1. Plaintiff and Defendant hereby jointly move the Court for a final and non-

appealable Order entering this Settlement Agreement and Consent Judgment with the full force

and effect of a Final Judgment and Permanent Injunction.

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                                  July 21, 2015
